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                 Exhibit A
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COMI\10N¥/EALTH OF THE BAHAI\ilAS

New Providenc,e


                                  WARRANT OF SURRENDER

TO:
       THE COMMISSIONER OF THE BAHAMAS DEPARTMENT OF
       CORRECTIONS AND THE COMMISSIONER OF POLICE AND EVERY
        PEACE OFFICER


       WHEREAS SAMUEL BANK.i'1AN-FRIED a.k.a . '~SBF'' a dttzen of T he United St.:ites of
America was arrested on a Provi.s(ot1al Warrant of Arrest dated the l th day of Dece111ber, 2022, pursuant
rn section 9(l )(b) •o f the Extradition Act (.. the Act") for the offences set out ln the schedule anached
hereto within the jurisdiction of the United of Srntes of America, having been indicted


       Al"1D WHEREAS UPON the arrest and appearnnce of SAMUEL BANKMAN- FRJED a.k.a.
uSRF'' before Chief Magistrate Joyann Ferguson-P ratt, he was: remand~d to the Bahamas Department of
Correcti ona I Services


       AND \VHEREAS SAMUEL BANKMAN-FRIED a.k.a . ... SBF" hris indicated h]s w~llinguess
to he extradited and having been brought b efore Stipendiary and Ci11cuit Magistrate Sha.ka Serville who
informed l1im of his rights to fonnal extradition prnceedings under the Act


       AND "WHEREAS SAMUEL BANKMAN-FRIED a.lea. ~~sBF" consented in writing to h-e
,e xtradited without sud formal p,roceedings


       AND WHEREAS on the 2 l ~[ day of December, 2022, Stipendia1y and Circuit Magistrate Slmka
Se1ville committed SAMUEL DANKMAN-FRIF.D a.k.a. "'SBP' into custody m a\vait his extradition

to the United States of America


       fliiOW 1 do hereby, pursuant to section 17(3) of the AN, order you the said Commissioner or rhe
Bahamas Depar1!mcnt o f Corrections , Fox I [iU . to ddiver the body oftbe said SAMUEL BANKMAN-
FRIED a.k..a. "S.BF 1' into the cu~tudy of ll\e sajd Commis.sfoner of Police ur any peace office.r, flnd l
,command you the said Commissioner or P•olic•e or any peace officer, to receiv•e Che s3id SAMUEL
BANKMAN-FRIED a.k.a. 1•SRF'' and there to place him in the c.ustody of any per:son or persons
appointed by the Government of The United States of Amerit:a lo recei vc him.


                                                      Given under 1ny hand .a11d seal
                                                      this 21 st day of December in th-e yc,u of our Lo.rd,
                                                      Two Thousand and Twenty-Two in the city of
                                                      Nassau.




                                                        FREDERICK A.     CHELLI   .

                                                       MINISTER OF FORElGN AFFAIRS



                                                                                             SDNY_03_01098055
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                             SCHEDUI .. R OF CHARGES


1. FRAUD BY MAIL (2 Counts), contrary to sectjon 343 of the Penal Code Act, Ch.::1ipt,e r 84
   (Wire- Fraud on Customt:rs and Wire l1'raud on Lenders in 'Violudcm Hf Title 18 United StlUes
   Code Sections 1343 and 2);

2. CON SPIRA.CV TO FALSIFY ACCOUNTS (2 Counts) contrary to .sections 89(1}, and 350(1)
   and (2) of the Pena] Code Act, Chapter 84 (Conspiracy to Commit Wire Fraud on
   Customers ::m d Conspiracy to Commit \.Vire Fraud on Lenders in violation of Tm,e 18
   United St:Uc:s Code S,ci;:tion 1349};

3. CONSPIRACY TO COMMIT FRAUD BY FALSE PRETENCES (2 Counts) contrary to
   sections 89,(1) and 348; of U.e Penal Code, Cl1apter 84 (Conspiracy to Commit Co mmodities
   l•raud and Conspiracy to Commit SecurWc.'i Fraud iH vfolafioH of Title 18 United St11te5
   Code Section 371 ); :md

4. CONSPIRACY TO COMMIT MONEY LAUNDERING contrary to section 89(1) of the
   Penal Code A•c:t~ Chapter 84 nnd s~,d ions '9 1md IO of the Proceeds or Crime Ad, 2018
   (Conspiracy to Co mmit Money L:11.mde1·ing in vioh:idon of Title 18 United States Code
   Section 1956 (h))1.




                                                                                  SDNY_03_01098056
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                            COMMONWEALTH OF THE BAHAMAS

                            New Providence




                            TO: THiE COMMISSlONER OF THE BAHAMAS
                            DEPARTMENT OF CORRECTIONS AND THE
                            COMMISSION£ROFP OLICEAND EVERY PEACE
                            OFFICER




                            WAR.RA~'f OF SURRENDER




                            HONOURABLE FREDERICK A. MITCHELL
                            MINISTER OF l'OREIGN AFFA lRS




                                                                SDNY_03_01098057
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              TR F.ATIES AND OTHER !NTER!•.J1\ TION t\L ACTS SE R IRS 94-922


LAW ENFORCE MENT

Extradition




                                 Treaty Between the
                                 UNITED STATES OF AMER1CA
                                 and the BAHM1AS



                                 Signed at   ::iss nu March 9, 1990




          .        Tq~,


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Q

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-J_.      ~-~
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          /";-\rEsO~




                                                                               SDNY_03_01098058
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                    NOTE. BY THE DEPAllTMF..NT OF ST1\TE


           Pursuant tn Public Law 89--497,. appmvcdjuly 8, 1%6
         (80 St;:it. 271; 1 U.S.C. 113}-

         " ... the Treaues an1.l Other lntcrmHicmal Acts Series issued
         under the: authoricy of the Secrct=iiry of State shall be competent
          evidern::e ... of the crcatic.:s, international agreements otl1cr than
         trea1ies, and procfomatiom by the President of such trc:iti-cs and
         imcrnm:ion::il .igrcr::mr.:11L., other than treaues, :is lhc cnsr; may be,
         tl-,erein contained, in :ill the c:uurlS of l:iw f'tnd cquiry :mrl of m:iritirne
         jurisdic.rinn, and in all [he triblrn~I~ an,rl puhJic offices of the
         lJnitc.:d States, and of the sr;vc:r::il States, \vit.hour an}' further pmnf
         or :1uchcnticacion thc:n:of.''




                                                                                            SDNY_03_01098059
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                                   HAHAMAS

                       Law Enforccrneot: Extradition

          Tn:,1!)t signed al I\fa11m1 ?1•lnrdi 9, 19!)0_;
          Tmrm11it1ed fv, th~ Pm11/e.11I of lhc United SltllN efAmerim
                to the Jmaf6' Ortobrr Z{f, l !19 r (frra(y fJ1K. 102- 17,
                 1'02d CoJ.~trJ'J, 1'II S,•uion);
          Jvparltdfiuror(Jbly 0· 1/i,, Scflafe Co111millee 0'1 f·ofl'~?,11 Rt•latioJJI
                Mqy 7, 1992 (Serwle P,_,a:mtiJ.Y: Hcpart No. f02-29,
                 102d Congre.r.r, 2d Smt"tm),-
          Adt•ke 011d ro11se,it to mhflmhoJJ 0' the Setutle
                Mr9• 1J, 1992,-
          Rrit!firrl l!J the Pmidmt O,1obtr 9, 1992;
          R.rJlijitd ~y lhl' !Jnha111ns Sr.pte1JJba 20, 1994,-
          H..tdijitaliom cxdlfmgrd al l!l'a.rhiugtrm September 22, I 994;
          En1ererl /nlo farce Si,ptfmlH!r 22, ·1994.




                                                                                         SDNY_03_01098060
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          El<.'Tf!ADIT!ON TREATY BETWl::(;N Tlll:: GOVE8:NMENT Of THE
         UNITED STATES Of AKERICA AND THE GOViRNME~T OF THE
                        COMMONWEAL~H     or THE BAHAMAS

T~e Govern~ent of the United State$ of A~erica and the
Gove~nrnent oft~~ Com~onw@alth of The Bahama~:




Hot lng t h.'!.t both the Government. of tile Uni tei;l St .ite::. ,o f A.rned -c a

and the Government of the com~on~ealth of The aaha~a~ ~Y~rently

apply the te~m~ of ~hat Tre~ty; and




ijave agreed as follow~:




                                                                                      SDNY_03_01098061
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                                    -2-




                                Artidc 1
                        Ob l1g~ t i on to Ext~adite


    The Contrac ing St a te~ ag~ee to extradite to each other,
pur~uant to the prov i 6ions of this treaty, ~ers~n~ whQ~ the
authorities in the Reques tin g State have charged with or found
g~ilty of an extraditable offense.




                               Article 2

                         ~xtraditable Offenses


    fl}     An offenae shall be an extraditab e offense if it is
ponlshabl ~ under t~e laws     n both contraeting States by
deprivation of liberty f~~ a p~r i od of more t:b~n o~~ y~ar or by

a more severe pen~lty,


    ( l}    An offense shall also be an ext:rad table offen&e if 1~
consists of an at t empt: or a co.n spiracy to comtllit, aidinq or
abetting, counselling, causing or procuring the com~i5slon of,
or b~ing an accessory before or after the fact to, an offense

describod in pa~agraph 1.


    (3)     For t~e ~urposeti of this Article, an off~nse &h~ll be

an extraditable offense:




                                                                           SDNY_03_01098062
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                                     - J-




              (al w~ethe~ or not the laws in the Contractin9 States
              place th~ offense within the same category of offenses
              or describe the offense by the same terminology: or


              (b) wheth~r or not the gffen~e is one for ~hich United
              states fe~era l law requires the showin9 of lnl~rstate
              transportation, or use of the mails or other
              facilities affectin9 interst~te or foreign commetce,
              s~ch ~atters being merely fot th~ purpose      of
              establishing jurisdiction in a Un ited States federal

              court.


       (4J    A~   offense deacribed in this Act1cle shall be ao
extradicable off@ns@ whether or not the offense was committed
within the territory of t he Regu@ating Stat@.           However, if the
offenEe was ~ommitt@d oucsi~e the territory of th@ R@gu~sting
State, e~tradltlon shall b@ granted if th~ law of the R~quest@d
Stat@ provides for punishment of an offen~e ~o mID i tt@d outside

of i t$ terrlto~y in si~ila~ ci~co•st~h~~s.



                                                                           J
                                  A,ticle l
                       Political and Hilitary Offenses



11 }    Extradition shall not be granted when;




                                                                               SDNY_03_01098063
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       {at the offense    or ~hieh    @~    r~dition is requested i$ an

offense of~ political character;


       !bl the executive authority of the Reqo~~ted State
deter~ines that tho request was made for tho primary purpose o!
prosecuting oc punishing the p~rson for an offen~o of a
political cha r acter; or


       (c) tbe executive aut hority of the Re~uested state

cletc .r mines that the request   wa,:s    politica.lll y 1n nu;;i.allj'

m0t i Yi!ite:~ •



(2 )    For the purpose& of this Tr~aty, the following offenses
sha l l not be con5 1clere ~ to be offenses of a politica l ch~racte(

within t~e ~e~nin9 of paragraph (lJ of this A tlc l e;


       (al   a murder or oth~r willful crime against the Life or
physical i .nte9rity of .a Hearl of State of on,e- of Hie Contracting

States, ot of a member of that person' s family, including

atte~pts to com~it such otfen$e$r or


       ( b) an offense with ~espect to which a Contracting State

has the obligation to pro secute or grnnt ~~tradition to the
other hY reason of a multilat@~al tre a~ y, convention, or other

international agre~ment,




                                                                           SDNY_03_01098064
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(3l    ~he e~ec~tive ~uthority of th~ ReQu~sted State may refuse
extradition   f □~   offens~a und@r ~ilitary la~ ~hieh are not
offenses under o~dina[y criminal law.




                                Article 4




£~tradition ~h~ll not ~e refused an the q[ound that the
fugitive is a c itizen or ~atio~al of the Requested State.




                                Article S
                 Pr i or Jeopardy for the s~~e OffeITTse


( 1)   E~t[adltion shall no t be granted ~hen   t~~   person sought
has bee~ convicted or acquitted In t h ~ R~guested State for the




(2 )   ~x t ~adition shall not be precluded b~ the fact t h ~t the

~o~petent autho~ities i~ the Requested Stat@ have decided not

to prosecute th e pecson s o ug ht for the ac t ~ for which
e~t~aditlon is req ues t ed, o~ to discon t inue ~hY cri minal
p roce cd l n9~ Which h a~e been i nstitut~d against t~e pe~son

sough t fo, those aets.




                                                                         SDNY_03_01098065
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                                   A rt   i ,c le Ei

                                Lapse cit Time


E~tradit!on shall not be g~anted when all pr~secution has
                                                                                 i
                                                                                 I
become l:l.a.rred by lap~e of tir=c according to the 1.a.ws i n the

Feguesting St~te .                                                               t




                                   1.rt i cl@ 7

                            Capita l Puniahooe nt


    When tha offense tor wnlch ext r ad i tion is sought i~
pun i shable by death under the la~8 i n th@ Requesting State an d

is not punl~h.able by death u nder the laws in t ~e Requested
State, the compe~ent authoc i ty of th@ Requested St.at@ may
ref ~se eKtradition u nless :


    (a) the offense constitutes m~~der under the laws in the

    RQguested State; or


    {b) t he co~petent authority o~ the Requesti ng State
    prov i des .such assurances a_., tbe c:;:o,mpetent authority of the

    Reque5ted State con~idcrs suffi~ient that th~ death penalty

    wi 11 not be l mpo.sed (;1£,   if imposed, wi! l not be c.i rr i ~rl out..




                                                                                     SDNY_03_01098066
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                                        Arttcle     a
                     Extradition P~ocedures   ~~d   Re9uired no~urncnts


Ill         The reque~ts fQt ext,~dition shal l b~ ~ade t~rough t~e

diploma~ic ch~nnel.




           (~} doc~ments, ~tatem~nts, oc other 0vidence which ~e~cribe
the identity 1           and   ptQbable locatiQn ot the person sought;


           {bJ a statement cf the facts of the case, incl~dingt if
possible, t~e t i~~ and location of th e offense;



           {e}   8   statem~nt of the prov isi ons of the law de5c[lbing the
ess~ntial @lements of the off~ns~ fo~ which extradition is




           (dl a stat~ment of the provi~lona of la~ describing the

punishmen~ far th~ off@nse: ~nd


           (e)   a   st~tement of the provisions of la w desc~lbing ~ny
time limit on the prosecution.


(3 )        A req~e5t fo~ extradition relatln9 to~ p~rson ~bo has n~t
yet been convicted of t he offense fo~ which extrad!tion is

.f:Ol.lg   ht sha.1.1 al so be supported by~




                                                                                 SDNY_03_01098067
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      la> a copy of the ~arrant of arrest issued by      a   judge or

other competent authority tog~ther with evidence that the
p~rson requested is the perso~ to whom th~ ~arrant ~~f~ts; and~


      {o) such evidence as would justify the committal for trial
of the perso~ if tho offense had ~eon committed in the
Reque5ted State or as would justify the co~mitt~l fo,
~xtradition of tho per~on in acco,dance with the laws of - the
Requested State.


(4) A request f or extradition relating to a person convi~ted of

the offense for which extradition is sought shal l be suppo rt ed
by the i tems in paragraph (2) above, and shal l also b~
suppoctad by a certificate of convietion or a copy of the
judgC11en.t of conv i ction re-ndered bl' a court in the .Requesting

State.     If the pet~on has be~n convicted and sentenced, the
request for extradition shall be eUppottea by a state1n&nt
showing to what extent the sent~ne@ has b@@n carried out.          If

the person has been convieted but not yet senteneed , tha
cei;iuest for e.xtr-adH:!on shall be s:uppo,cted by a stat:~IM!nt to

that ef f ,e ct,


(5J   All docu~ents s~bmltted by the Regue5tJng State ~hdll be
submitted in the English lan~uage,




                                                                         SDNY_03_01098068
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f6,   Document~ in ~uppQrt of th~ req~est for e~tradition sh~ll
be tran~~itted through the diplomatic chann~l, and shall be
adMissible in extr~dition proceedi~gs if certified or
authenti~at~d in ~ueh manner as ~ay be r~guired by the law in
the Re~Uested St~te.




                       Additional Information


fl) If tb~ e~ecutlve autho~ity Qf the R~gues~ad state con5ide~~
that the informatiQ" furnist1ed in 5uppo~t of the teque~t Eor
e~t~adition is not sufficient to fulfi ll the r~quiremonts of
the Treaty, it shall r@quest the submis£1on of "ec~ssary
additlon!l information.


(2] Th~ ~~eeutiv@ authority of the Requested State nay f i ~ a

time limit for the submission of such inform~t i on.


(3) ~othing in the foregoinq shall prevent the execu tive
authocity of the Requested St~te fro~ pres~nting to a cdurt af


expiration of the time stlp~lat~d p~~~uant to this A(ti~ l e.




                                                                        SDNY_03_01098069
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                                Artiele 10

                           Provisional Arrest


(ll    In case of urgen~y, either Contrac~in9 State may request
tho provisional arrest of any persofi Dccused a, convicted of an
extraditable offense,      Application for provisio~al ~rr~st ~hall
be made thro~gh the diplomatic channel, or directly between the
Depart~ent of Justice in the United State~ of America and tho
Attorney General in the common~oalth of The Bahamas, in which
case th~ Eacllit i~ s of the Intern~tlonal Criminal Po lice
organization IINTE~POL) may b~ used .


12}    The npplicntion for provisiona l arrest shall contain:


      (a l a desc ri p tion of tbe person sought,



      (b} the location o~ the pe~son so~qbt, if known;
                                                                      ~
                                                                      I



                                                                      .I
      (c) a brief st~te~ent of the facts of the case, inc luding,     I
                                                                      i
i f possiblet t he time   and l ocation of   the off~nsei


      (d) a statement of the ex is tence of a warrant of arrest or
the judg~ent of conviction against the person sou~ hti a nd


      !el a statement that a regu~st for extradition for the
pe~son sought wi ll follow.




                                                                           SDNY_03_01098070
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(Jl    On receipt o f ~he ~p~lication, the Re~uesting stat@ shall
take the appropriat@ steps to eecure the attest of th~ person

~ought.      The Request ing state shall be promptly notified of the

[@sults of its application.


( 4)   A person    ~~o   is ptovisionally arrested shall be di9eha~ged

fro~ custody ~pon the eipiration of sl~ty (601 rlays f~om th@

date of arrest pursll~nt to t~e appl tc a~io~ of the ~egue5ting
State 1f the e~ecutiv~ •~t~o~'ty of the Reguested State has nQt
ce ceived the formal request fo~ @xtrarlitlon and t~e ~uppQrtiqg

documents req uiced in Articl~ 8.


t S)   The   fact tha t the peu:ot'l sollght.   has bee·n   di:s.cilai::ged ftorn
~ustody pu[suant to ~aragr~ph l4) of this Articl~ Sh~ll nQt

prei udi ~e th~ ~ub~equent ,c~r,est and eKtradition of that
p~~son i f the extradition cequ~st ~nd ~uppo,ting documents are

delivered at a later       date,




                                   Article l1

                           Decision and surreadec


{U     The Reque.ete-d St.ate shall promptly coiilmunica t.~        I: hroug   h the
aiplom~tic channel to the Reguestin9 State its decision on the

ceq~est for e~tr~dition.




                                                                                       SDNY_03_01098071
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(2)    If the request is deni~d in whole or In part, t he
Requested State sh~ll provide such infotm8tlon n. may be
~vaLlib    ~   a~ to t~e reasons for the denial of the request,



(3J    If th@ request for extradltio~ is vranted, the ~ompetent
au horities of the Cqntr~ct i ng Stat~s shal l agroo on the time
and place for ~he ~urrender uf th~ person sou9ht.


(4)    If the person sought i s not removed from t he territory of
the Reques t ed St ate wit h in th~ time pre5cribed by the law of
that State, tbat person rnay be discharged from c~stody, and the
Requested State rnay subsequently refuse extradition for the

aame offense,



                                 Article 1 2
                    Defer r ed a nd Te po ca r y Surrender


1.    If the extradition ~equest i ~ granted in the case of a
person Who i s bo i ~   ?rQsecuted in       he ~cgueste~ stat~, the
~eguested state shal l, unles~ its laws oth~r~i5e p(ovido, defe~
t he surrendet of the person sought unt i l the conviction,
acquittal, or termination of tho p~osecution a9ainst that

person,




                                                                          SDNY_03_01098072
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2.    Ir the extradition cc9~est !~ qr~nted in ~he case of a
person who is servi~g     ~   senten~e in the Requested State, not

b@ing a pe~san to ~horn pacag~aph I applies , the ReGuested St~te
may de!e, the surrender of the ?@rson sought until the ful l
execution of any punistiment that may bH:111@ b@en imposed.,


l .   If the e~tradition reguest 16 grante~ i~ th~ case of a

person who is serving a s~ntence in the Req uested state, not
trni nl'] a person to who,m p.n:a9raph l   ,pplies, the .Requested State

~ay temporarily su r re nclQr the person sought to the Requesting
Slat~ for t he purpo~e of pronecution for the offense{~) for

which he   ~a5   co~mitted for extradition.     The pers o n so

su rr endered ehall be kept in cu5tody in th~ Rcgucstin9 St~te
and shall be tetu r ned to the R~q uested State after the
conc l usi o n of the prosecution a9a1nst th~t person , in
accordance with conditions to be determined by agree~~nt of th~
contracting States,




                                Article lJ

           Request~ for Extradition Ma de by S@veral State~


{lJ lf the ~eq~ested State r ece i ve£ requests from the other
Contrac t ing State and ftom any o ther St3te o~ States for the
e~t~~dl t ion of the sa~c person, either for the aane offense or
fo, diffe~ent offenses, t he e xecutive aut~Qrity of the




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Requested State shall determine to wh ich State it ~ill
surrender the person.           In maki~g it5 decision, the ReGue$ted
state shal l consider all relevant f~ctot~ , including hut not
li111iteo tQ,


      (al    the State in which the otfense was co~mitted~


      (b}    the gravity of the offenses, if the state~ ale seeking
the person for different offenses:


      (c)    the n~tionj }ity of the offender:


      (d)    th~ possibility of re - e~tr~dition between the
Request:!. ng stat.es;   a od



      le)    t he chronoJogic~l order in which the (eq~ests wer@
r eceived from the Requesting states.




                                    Artic l e 14
                                ~ule of Specialit¥


{ll   A ~arso n extradited u~dar this Treaty may only be
detaiaea, tried, or punished ln the aequesting state for the
offe nse for whi~h extrad i tion was ~r~nted, or --




                                                                            SDNY_03_01098074
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                                      -15-




      la} ~ny offen~e cQmmitt~d aftec the ~xtiadition;


      lb) anf offen~e in ~e~pect of ~h ic h the e~ecutive ~uthority
of the Requ@sted State, in accordance with its J a~5, ha~
consented to the p@rson's detent i on, trial, or pu~ish~ent; and
for   the purpos@s of this Sllbparagr.aph the Requested SU!1te shal1

requi[e compliance with the extradition pro~edur@s specified in
Artie)~ 8 and the suhmisslo~ of the documen~s 5pecified in that
Article:


      { ~) any offense which is a le.ssei: offense proven by th{!
faets befo~e the court of committal: or


      (d) any offense dea l t wi th by the Hequestin9 State afte, --



            {i)   the person f~iled to l~~ve t he territory of the
      R@gue5tiag St~t~ within thirty (JQ) day~ of being froc to
      do so; or



            [ii} the person has left the ter ri tQry of t he

Rgq~e5ti n~ stat e and voluntarily returned to it.


[2}    A per~on e~trad it ed u nder this tr~aty may only be

~xtrarli tc d to a th ird Stat@ i f


      (a}   the ~equestcd state con~ents~ or




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      (b )   the circ umstances ace such that the per s on co u ld be
dealt with in t h~ Requesting s t ate pur s uant to subparagraph (d)




                                  Article J S

                         Simplifie d Extradi~ i on


      If the person sought agrees in writing ~o be surr~ndered ~o
the Requestin9 St~te after b ein9 adVi5ed by~ co~pet~nt
j udicial authority of bis right to forma l ext[ad i tlon
proceedinijS, the Requested State may surrcnd@r the pe [ son

without f or~a l proc eedings .




                   seizure a nd S urrender of P~oper ty



(ll   To the extent per~i t t e d under the l a~s of t~e Requested


or other ev i ,dence r elating to the offense shall be sei2ed by
the Requested state, a nd such items shall be surrendere~ upon
the granting of ex t radition.      The items me n tioned i n thi5
Ar t icle shal l be surrendered even ~he n e~tradition cannot be
effected due t o t he dea th , di5appearance, or escape of the

person sought.




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    property upon satJ5fa~tocy ~ss~cance frorn the Requ~~ting State


    soon as practicable, and ~ay ~efer surfender if the prop~rty is
    n@~ded a~ evidence in th@ ~equested s~ate.


    (3l    The right~ of third patties in s~ch property ~hall be d uly

    respceted.




                                      Tr~nsit



    [l)    ~ithe~ Contracting Stat~ may authori~e transporta~lon
I
I
I

    sta~e by a third st~te ,     A   r~qu~st for tr~nslt shall b~ made

    thro ugh the diplomatic channel and •hall contain a description
    of the person being tra nsported and a b~i@f state~ent of th~

    facts of the case.


    12 }   No authori zation is r~quired where air t ransport ation is

    ~s~d and    D□   laDding is scheduled on the t~rritory of the

    contracting state.       If an unscheduled )~nding occurs on th~
    te,ritotv of the othcl Contr~~t ing Statef ti~nsit shall be
    subj~~t to p~ragraph (lJ o[ this Article.       That ContractinQ




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St~t@ shall detain th~ p@rson to be tcansported until the
re~ueat fot tcan~it is r~c~iv~d and th~ tcansit is effeeted,             80

long ae the reques~ iB ~eceived withim 96 bQu,s of the
11nachedu led l,mdi ll.q .




                                   Artic:le 18

                        Repreaentation ~nd ~xpen8ee



(1)     The Requested State shall advise, assist, appear in court
on behalf of the Requesting State,           nd represen~ th@ int~r&•ta

of the Requesting State, ih ~fiY proc~ed!ng arising out of a
cequest foe exttadltion.          HoweV@t, lf the Requesting state

retains c~uneel, no claim for tei~bUt$e ~nt 8hall be m~de
against the Requested state fot that counsel'~ f e3.


f2)     The Requ~otin9 State hh 11 bear the expenses r _lated to

the translation of do~urnents and the transpo tat!on of the
person surrendered,          fhe Roguested State ahall pay all   other
expl!nsea i11curted in. that State by reason of: the e%tradition

proceedi ng·s.


(3)     Neither State shall make any pecuniary clei~ a9aiDgt the

other State arising QUt of the arrest, aetention, e•amln~tion~
or    sur rend@r- of pe cs ons sought 1.mder thiB T re<1ty.




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                               Article- 19

                         scope ot Appl ic:al: i on


       This Tr~Aty shall ap~lr to ~xtr~ditable offenses under thia
Treaty committed before a~ well as afte~ the date th is Treaty
enters i ~to force provided that extradition s~all not be
granted fQr an offense co~mitted b@fore t~is Treaty enters into
force Which was not an off~nse und@r the law~ of both
Contracting States at the tim~ of lts commission.




                              Article 20

           Ratification , Entry Into Poree, and Termination


{l)    this Tre aty sh~ll be subject to ratificatiort , and th@
instruments of ratification shall be exchanged ~t Wash ingt on as
soon aA possible.


12,    Thi~ T~@aty shall enter into force immediately upon the
exchange of the inst[u~@n~s of ~atifica~ion ,


(3)    tither Cohttactlng state may terminate th!~ Tteaty at any

ti~e by giving ~ritt@n notice to th@ other Co ntracting State,
and th~ termination &hall b@ @ffe~tive $l~ monthB afte~ th@
~~t~   of th@ recfript of sue~ notice,     such t@rrninatio~ $hall no t




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        p~ejudice any request f~r extradition mad~ prior to the da t~ an
        Which the ter~ination beco~es effective.


        !4]    Upon the entry into force of this Treaty, the E~tradition
        Tr~aty betwe~n the United S~~tes of America and Great ~ritain,
        sign~d at Lo~don December 22, 1931, £hall cea&e            tQ ha~e effect

        between the United states of A~erica       a~a    the Commonwea l th o!
        The Bdhamas.    Neverthel~ss, the 193 1 Treaty ~hall continue to
        have effect ln rcl~tio~ to any e~traditjon proce~d j ng s pending




              IN ~ITN!SS WHEFEOP , the undersigned, heing duly authoriz~d
        by their respective Gouern~~nts, have sig ne d this T(eaty .


                                  ~t the city of ~assau , this 9th day

        of



                                                f'O.R THI: GOVE~~MIE:NT OF
                                                '!'HE CO.HHONWEi\LTlf Of' Ttilt::
                                                a... HAMA.S;




                                                                                    SDNY_03_01098080
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